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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

    CARE ONE MANAGEMENT, LLC ET AL., :                 Case No.

          Plaintiffs

    V.

    STATE OF CONNECTICUT, DIVISION
    OF CRIMINAL JUSTICE, OFFICE OF
    CHIEF STATE’S ATTORNEY
          Defendant

    CARE ONE MANAGEMENT, LLC ET AL.,                   (Pending in the United States District
                                                       Court for the District of New Jersey,
          Plaintiffs                                   Civil Action No. 2:12-cv-6371 -SDW-
                                                       MCA)
    V.

    UNITED HEALTHCARE WORKERS                          December 7, 2015
    EAST, SEIU 1199 ET AL.,

          Defendants

         MOTION TO COMPEL COMPLIANCE OF SUBPOENA ISSUED TO
                 THE OFFICE OF CHIEF STATE’S ATTORNEY

         Pursuant to Federal Rules of Civil Procedure 26(b), 34(c), 37 and 45, the

movants, consisting of fifty-two sub-acute care, long term nursing care and assisted

living healthcare facilities located in New Jersey, Connecticut and Massachusetts, and

the entities that manage and own them (collectively, "Care One"),’ hereby move this

Court for the entry of an order compelling the State of Connecticut, Division of Criminal

Justice, Office of Chief State’s Attorney ("State’s Attorney") to produce all documents

responsive to the subpoena duces tecum served by the movants upon the State’s

Attorney on February 6, 2014.


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    A complete listing of the movants is attached hereto as Exhibit 1.

ORAL ARGUMENT REQUESTED
PURSUANT TO LOCAL RULE 7(a)(1)
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      The movants are plaintiffs in an action pending in the United States District

Court for the District of New Jersey captioned Care One Management, LLC, et al. v.

United Healthcare Workers East, SEIU 1199, et al., Docket No. 2:12-cv-6371-SDW-

MCA (the "New Jersey Action"), against the Service Employees International Union

and its affiliated local unions alleging, among other claims, violations of the Racketeer

Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et seq. The subpoena

served upon the State’s Attorney requested documents concerning the State’s

Attorney’s investigation of incidents of sabotage, vandalism and other misconduct that

occurred at the three of the movants’ Connecticut facilities at or around the same time

as the commencement of union defendants’ labor strikes at those same facilities. The

State’s Attorney has refused to produce certain responsive documents on the grounds

that the law enforcement privilege and the work product doctrine prevent disclosure of

such documents. The State’s Attorney has also failed to confirm the existence of draft

arrest warrants or documents relating to the preparation of such warrants, as

requested by the subpoena.

      As more fully explained in the memorandum of law filed in support of this

motion, the State’s Attorney should be compelled to produce all documents responsive

to the movants’ subpoena because neither of the privileges asserted by the State’s

Attorney apply. Even if the qualified protections under the work product doctrine or the

law enforcement privilege were determined to apply, Care One is still entitled to

production of the withheld documents because the information they contain is highly

relevant to Care One’s claims asserted in the New Jersey Action and cannot be

obtained from other sources.

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      For these reasons, Care One respectfully requests that this Court grant this

motion and enter an order compelling the Office of the Chief State’s Attorney to

produce forthwith all documents responsive to the subpoena served by Care One.

                                       MOVANTS - CARE ONE MANAGEMENT,
                                       LLC ET AL.



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                                       Their Attorneys




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                                    EXHIBIT 1
                                 List of Movants

Care One Management LLC; HealthBridge Management, LLC; Care One at
Birchwood, LLC, dibla Care One at The Highlands; Care One at East Brunswick, LLC,
dlb/a Care One at East Brunswick; Care One at Hamilton, LLC, d/bla Care One at
Hamilton; Care One at Madison Avenue, LLC, d/b/a Care One at Madison Avenue;
Care One at Mercer, LLC, dibla Care One at Ewing; Care One at Parsippany- Troy
Hills, LLC, d/bla Care One at Morris; Care One at Teaneck, LLC, d/b/a Care One at
Teaneck; Care One at Wall, LLC, d/bla Care One at Wall; Care Two, LLC, dlb/a Care
One at Livingston; CareOne at Moorestown, LLC, dibla Care One at Moorestown;
Elmwood Evesham Associates, LLC, dibla Care One at Evesham; HCC, LLC, d/b/a
Care One at Holmdel; King James Care Center of Middletown, LLC, dlb/a Care One at
King James; Millennium Healthcare Centers II, LLC, dlb/a Care One at Dunroven;
Millennium Healthcare Centers II, LLC, d/bla Care One at Valley; Millennium
Healthcare Centers, LLC, dibla Care One at Pine Rest; Millennium Healthcare
Centers, LLC, dlbla Care One at The Cupola; 11 History Lane Operating Company,
LLC, d/b/a Care One at Jackson; 301 Union Street, LLC, dibla Care One at
Wellington; 493 Black Oak Ridge Road, LLC, dibla Care One at Wayne; 600
Kinderkamack Road Operating Company, LLC, dlb/a Oradell Health Care Center; 800
River Road Operating Company, LLC, d/b/a Woodcrest Health Care Center; 2 Cooper
Plaza Operating Company, LLC, dlb/a South Jersey Health Care Center; 1621 Route
22 West Operating Company, LLC, dibla Somerset Valley Rehabilitation and Nursing
Center; 341 Jordan Lane Operating Company II, LLC, d/b/a Wethersfield Health Care
Center; 1 Burr Road Operating Company II, LLC, d/b/a Westport Health Care Center;
107 Osborne Street Operating Company II, LLC, d/b/a Danbury Health Care Center;
240 Church Street Operating Company II, LLC, d/b/a Newington Health Care Center;
245 Orange Avenue Operating Company II, LLC, d/b/a West River Health Care
Center; 710 Long Ridge Road Operating Company II, LLC, d/b/a Stamford Health
Care Center; 162 South Britain Road Operating Company II, LLC, d/b/a River Glen
Health Care Center; 2028 Bridgeport Avenue Operating Company II, LLC, d/b/a
Golden Hill Health Care Center; 745 Highland Avenue Operating Company, LLC, d/b/a
The Highlands Health Care Center; 135 Benton Drive Operating Company, LLC, d/b/a
Redstone Health Care Center; 178 Lowell Street Operating Company, LLC, d/b/a
Lexington Health Care Center; 19 Varnum Street Operating Company, LLC, d/b/a
Lowell Health Care Center; 199 Andover Street Operating Company, LLC, d/b/a
Peabody Glen Health Care Center; 2101 Washington Street Operating Company,
LLC, d/b/a Newton Healthcare Center; 221 Fitzgerald Drive Operating Company, LLC,
d/b/a New Bedford Health Care Center; 260 Easthampton Road Operating Company,
LLC, d/b/a Holyoke Rehabilitation Center; 312 Millbury Avenue Operating Company,
LLC, d/b/a Millbury Health Care Center; 49 Thomas Patten Drive Operating Company,
LLC, d/b/a Cedar Hill Health Care Center; 548 Elm Street Operating Company, LLC,
d/b/a Calvin Coolidge Nursing and Rehab. Center for Northhampton; 57 Old Road to
Nine Acre Corner Operating Company, LLC, d/b/a Concord Health Care Center; 64
Performance Drive Operating Company, LLC, d/b/a Weymouth Health Care Center; 70
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Granite Street Operating Company, LLC, dibla North Shore Health Care Center; 750
Woburn Street Operating Company, LLC, d/b/a Wilmington Health Care Center; Park,
and Marion and Vernon Streets Operating Company, LLC, dlb/a Brookline Health Care
Center




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